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B6                            Ø N                                                                                                      THE NEW YORK TIMES BUSINESS THURSDAY, APRIL 28, 2011



                                                                                                                                                                                                                     Chrysler Expected to Erase
                                                                                                                                                                                                                     Its Debt to Government
                                                                                                                                                                                                                     Goal of Raising $7.5 Billion in a Bond Sale
                                                                                                                                                                                                                              By BILL VLASIC                 help them direct more money to-
                                                                                                                                                                                                                        DETROIT — Of the three De-           wards product development.”
                                                                                                                                                                                                                     troit carmakers, Chrysler was in           Under Mr. Marchionne’s lead-
                                                                                                                                                                                                                     the worst condition when the re-        ership, Chrysler has methodical-
                                                                                                                                                                                                                     cession hit. And even with a tax-       ly improved its core products
                                                                                                                                                                                                                     payer bailout, it has been slower       since coming out of Chapter 11. In
                                                                                                                                                                                                                     to recover than its rivals.             the last year, Chrysler has intro-
                                                                                                                                                                                                                        But on Thursday, the company         duced new, well-received ver-
                                                                                                                                                                                                                     will announce a milestone in its        sions of its Jeep Grand Cherokee
                                                                                                                                                                                                                     comeback effort, declaring its in-      sport utility vehicle and the
                                                                                                                                                                                                                     tention to repay its $7.5 billion in    Chrysler 300 flagship sedan.
                                                                                                                                                                                                                     high-interest loans — $5.8 billion         The company has also bene-
                                                                                                                                                                                                                     to the United States government         fited from positive reaction to its
                                                                                                                                                                                                                     and $1.7 billion to Canada’s — as       “Imported from Detroit” ad cam-
                                                                                                                                                                                                                     soon as next month by selling           paign that promotes its corporate
                                                                                                                                                                                                                     new bonds to investors.                 resilience and improved product
                                                                                                                                                                                                                        Once it pays back the loans,         quality.
                                                                                                                                                                                                                     Chrysler can strengthen its ties           So far this year, Chrysler’s
                                                                                                                                                                                                                     to Fiat, its Italian partner, and be-   sales are up 22 percent — slightly
                                                                                                                                                                                                                     gin adding more fuel-efficient          higher than the 20 percent in-
                                                                                                                                                                                                                     cars to its truck-heavy lineup.         crease in sales for the overall in-
                                                                                                                                                                                                                                                             dustry. The increase, however, is
                                                                                                                                                                                                                        Sergio Marchionne, the chief
                                                                                                                                                                                                                                                             almost entirely attributable to
                                                                                                                                                                                                                     executive of both Chrysler and
                                                                                                                                                                                                                                                             improved sales of its Jeep models
                                                                                                                                                                                                                     Fiat, is expected to announce the
                                                                                                                                                                                                                                                             and Dodge trucks. The compa-
                                                                                                                                                                                                                     debt plan Thursday when he wel-
                                                                                                                                                                                                                                                             ny’s domestic market share has
                                                                                                                                                                                                                     comes the Treasury secretary,
                                                                                                                                                                                                                                                             remained flat at 9 percent.
                                                                                                                                                                             FUMINORI SATO FOR THE NEW YORK TIMES    Timothy F. Geithner, for a tour of
                                                                                                                                                                                                                                                                But the Fiat influence will be
       Renesas’s Naka factory in Japan. Renesas supplies 40 percent of the world market with a crucial car computer chip.                                                                                            the company’s Jeep plant on De-
                                                                                                                                                                                                                                                             felt soon. Chrysler has just start-
                                                                                                                                                                                                                     troit’s east side.
                                                                                                                                                                                                                                                             ed to sell the Fiat 500 minicar in
                                                                                                                                                                                                                        Although details of the debt of-
                                                                                                                                                                                                                                                             its American dealerships, and
Struggling to Produce a Critical Auto Part in Japan                                                                                                                                                                  fering, to be led by Goldman
                                                                                                                                                                                                                     Sachs, are still being negotiated,
                                                                                                                                                                                                                     Chrysler intends to use the pro-
                                                                                                                                                                                                                                                             more new passenger-car models
                                                                                                                                                                                                                                                             are in the pipeline.
                                                                                                                                                                                                                                                                Chrysler needs a more bal-
                                                                     hung from the buildings here.                                   other customers have sent as            tailored for each design. That is       ceeds of the sale to help it pay off
                                                                                                                                                                                                                                                             anced portfolio to take advantage
        From First Business Page                                     “Customers from all over the                                    many as 2,500 workers to help re-       partly a legacy of the auto in-         all of the government loans, ac-
                                                                                                                                                                                                                                                             of the steady rise in popularity of
                                                                     world are waiting.”                                             pair the factory, called the Naka       dustry tradition of each company        cording to people familiar with
ing the first plant tour for report-                                                                                                                                                                                                                         smaller cars. The Ford Motor
                                                                                                                                     plant.                                  designing and building vehicles         Chrysler’s plans.
ers since the disaster. “We are                                         Thus exhorted, workers have                                                                                                                                                          Company reported a sparkling
                                                                                                                                        Automobile companies are not         to its own specifications. The             Both Chrysler and the Treas-
aware of this and are doing our                                      repaired the factory’s ceiling, as
                                                                                                                                     the only ones dependent on              automotive electronics industry         ury Department declined to com-
best to restore the supply chain                                     well as a crucial air filtering sys-
                                                                                                                                     Renesas. For instance, Ricoh,           is much the same, with many             ment on the announcement.
as soon as possible.”                                                tem intended to keep out dust
                                                                                                                                                                                                                        The loans have been a psycho-
   Mr. Tsurumaru said the com-                                       particles that can ruin the mi-                                 maker of copiers and office
                                                                                                                                     equipment, gets some custom-
                                                                                                                                                                             competing designs.
                                                                                                                                                                                                                     logical and financial drag on           An opportunity for the
pany hoped to restart microcon-                                      croscopic circuitry of the chips.                                                                          “These microcontrollers are
troller production on June 15,                                          Test production has begun.                                   ized chips from Renesas. Ricoh          different in small but important
                                                                                                                                                                                                                     Chrysler’s efforts to revamp its
                                                                                                                                                                                                                     operations and gain market
                                                                                                                                                                                                                                                             automaker to focus on
                                                                     Workers in white suits with face-                               executives say the Naka factory         ways,” said Tom Starnes, an ana-
about a month earlier than previ-
ously estimated. But output will                                     masks and hoods worked in the                                   is their biggest concern among          lyst at Objective Analysis, a tech-
                                                                                                                                                                                                                     share since emerging from its           adding Fiat cars to a
                                                                                                                                     parts suppliers.                                                                government-sponsored           bank-
initially be only 10 percent of ca-                                  clean room to repair and realign
                                                                     sophisticated machines that must                                   But microcontrollers, which
                                                                                                                                                                             nology research firm. “That
                                                                                                                                                                             makes it very difficult to switch
                                                                                                                                                                                                                     ruptcy in 2009.                         truck-heavy lineup.
pacity, he said, declining to pre-                                                                                                                                                                                      “They started in a very deep
                                                                     be precise to billionths of a meter.                            are called mi-con in Japan (pro-        to alternate suppliers, at least not
dict when Renesas would resume                                                                                                                                                                                       hole after the bankruptcy,” said
                                                                     But red lights next to most pieces                              nounced my-kone), are extreme-          quickly.” Switching could take six
full production.                                                                                                                     ly important in automobiles be-                                                 Dennis Virag, president of the
   To help meet demand, the com-                                     of equipment indicated they were                                                                        months or more, analysts say.                                                   $2.5 billion first-quarter profit on
                                                                                                                                     cause they act as the brains of                                                 Automotive Consulting Group in
pany is shifting some production                                     not in operation.                                                                                          A particular challenge is the        Ann Arbor, Mich. “Now they are          Tuesday, largely because of the
                                                                                                                                     electronic control systems.             highly customized software that                                                 success of its new Fiesta and Fo-
from the factory here to another                                        To be sure, Renesas is not the                                                                                                               making progress both in the
                                                                                                                                        A reason for the industry’s          provides instructions for the vari-
Renesas factory in Japan not                                         only parts supplier knocked out                                                                                                                 product area and the financial          cus cars.
                                                                                                                                     heavy reliance on Renesas is that       ous chips. From automaker to
damaged by the quake. It is also                                     by the earthquake and, in some                                                                                                                  area.”                                     “Chrysler is in a better position
                                                                                                                                     it is the product of mergers in-        automaker, “there’s no software
farming out some manufacturing                                       cases, by the tsunami that fol-                                                                                                                    Mr. Marchionne has said that         now than a year ago, but they are
                                                                                                                                     volving three Japanese semicon-         compatibility at all,” said Tomoa-
of automobile controllers to Glo-                                    lowed.                                                                                                                                          interest payments on its govern-        still reliant on trucks versus
                                                                                                                                     ductor companies. Hitachi and           ki Nakamura, who once oversaw
balFoundries, a contract manu-                                          Toyota said recently that it                                                                                                                 ment loans were the only obsta-         cars,” said Ms. Lindland.
                                                                                                                                     Mitsubishi Electric merged their        automotive electronics for Hita-
facturer in Singapore that has                                       faced shortages of 150 critical                                 semiconductor operations in 2003                                                cle keeping Chrysler from being            Paying back the government
produced microcontrollers in the                                     parts, not only electronic control-                                                                     chi and is now vice president for       profitable in 2010, when the com-       loans will leave the federal gov-
                                                                                                                                     to form Renesas Technology.             research at IDC Japan, a market
past. But shortages are expected                                     lers but also rubber parts and                                  Then, last April, Renesas Tech-                                                 pany lost $652 million.                 ernment’s ownership stake in
to persist for months.                                               paint additives. The company, Ja-                                                                       research firm.                             Paying off the loans would also      Chrysler unchanged at 8 percent.
                                                                                                                                     nology merged with NEC Elec-
                                                                     pan’s biggest automobile manu-                                                                             The lack of technical standards      free Fiat to raise its ownership        But the new debt structure is
   “Let’s show Renesas’s inner                                                                                                       tronics, the former semiconduc-
                                                                     facturer, said it would not be able                                                                     is in marked contrast to the way        stake in Chrysler.                      considered a vital step toward a
strength and unite our hearts to                                                                                                     tor division of NEC, to form the
                                                                     to resume full production until                                                                         the personal computer industry             Fiat currently owns 30 percent       public stock offering by the com-
restart in June,” read banners                                                                                                       current company, Renesas Elec-
                                                                     the end of this year.                                                                                   evolved — with its standard for-        of Chrysler, a stake it received in     pany this year or in early 2012.
                                                                                                                                     tronics.
                                                                        Still, as a sign of how crucial                                                                      mats for disk storage, memory           stages as part in the United               The majority owner of Chrys-
Andrew Pollack reported from                                                                                                            While different automakers
                                                                     this plant is, Japanese automak-                                                                        chips, microprocessors and a            States government’s rescue of           ler is the health care trust for re-
Hitachinaka, Japan, and Steve                                                                                                        once had their preferred elec-
                                                                     ers, auto parts companies and                                                                           dominant operating system in            the smallest of Detroit’s Big           tired members of the United Auto
Lohr from New York.                                                                                                                  tronics suppliers, after the merg-
                                                                                                                                                                             Microsoft’s Windows, although           Three. In exchange for the own-         Workers union, which has a 55
                                                                                                                                     er everyone ended up buying
                                                                                                                                                                             Apple’s Macintosh operating sys-        ership interest, Fiat agreed to         percent stake.
                                                                                                                                     chips from the same company,
                                                                                                                                     said Koji Endo, an automobile an-       tem is gaining a bit of ground          provide engines and technology             Chrysler has not suffered the
                                                                                                                                     alyst at Advanced Research Ja-          lately.                                 to make Chrysler’s lineup more          same consumer disapproval that
                                                                                                                                     pan, an equity research firm.              In recent years big automakers       diverse and fuel-efficient.             General Motors experienced
                                                                                                                                        Renesas has emerged as one of        in the United States, Europe and           Once the government loans are        from its government bailout.
                                                                                                                                     the largest semiconductor com-          Japan have formed consortiums           retired, Fiat plans to pay $1.3 bil-    That was mostly because of G.M.
                                                                                                                                     panies in the world, with net           to try standardizing some of their      lion for newly issued Chrysler          came out of bankruptcy with the
                                                                                                                                     sales of 1.06 trillion yen (about       technology. The two main                shares, raising its ownership           American taxpayer as its major-
                                                                                                                                     $13 billion), in the fiscal year that   groups, AutoSAR and the Genivi          stake to 46 percent.                    ity owner.
                                                                                                                                     ended March 2010. (Partly be-           Alliance, focus on software and            That deal will most likely accel-       But G.M. has mostly shed its
                                                                                                                                     cause of the weak economy, its          electronics standards for drive         erate the integration of Fiat and       dreaded image as “Government
                                                                                                                                     net loss that year was 137.8 billion    train, information and entertain-       Chrysler and speed the arrival of       Motors” since the federal govern-
                                                                                                                                     yen, or $1.69 billion.)                 ment systems.                           new Fiat-based models for               ment cut its stake to 26 percent
                                                                                                                                        While publicly traded, the com-         Analysts say the crisis in Japan     Chrysler to sell in the American        from 60 percent in G.M.’s stock
                                                                                                                                     pany, which is based in Tokyo, is       could accelerate progress on            market.                                 offering last November.
                                                                                                                                     90 percent owned by NEC, Hita-          these standards-setting efforts,           The refinancing is also expect-         In Chrysler’s case, its biggest
                                                                                                                                     chi and Mitsubishi Electric.            while prompting some automak-           ed to save money overall for            problem was a weak lineup of ve-
                                                                                                                                        The Naka factory once be-            ers to reduce their dependence          Chrysler, which is paying high in-      hicles and tight constraints on
                                                                                                                                     longed to Hitachi and is in a re-       on Renesas.                             terest rates on the $5.8 billion it     product spending. But it now ap-
                                                                                                                                     gion where the electronics giant           “In the long term, automakers        owes to the American govern-            pears to be gaining momentum
                                                                                                                                     was founded as a motor manufac-         will probably spread their bets         ment and the $1.7 billion it owes       with new Fiat models.
                                                                                                                                     turer in 1910.                          more to other major suppliers,”         the Canadians.                             Analysts who had written off
                                                                                                                                        In automobile microcontroll-         said Egil Juliussen, an auto elec-         “It’s great they are tuning up       Chrysler after bankruptcy are
                                                                                                                                     ers, Renesas’s main competitors         tronics analyst at IHS iSuppli, a       their balance sheet by reducing         now applauding Mr. Mar-
                                                                                                                                     include Freescale Semiconductor         research firm. “And there will be       debt,” said Rebecca Lindland, an        chionne’s slow, steady rebuilding
                                                                                                                                     and STMicroelectronics.                 more reason to push the industry        analyst with the research firm          of its product portfolio.
                                                                                                                                        Automotive microcontrollers          standardization efforts, now that       IHS Global Insight. “That will             “It’s sort of like the cat with 17
                                                                                                                                     are mainly bespoke chips, with          automakers have seen what can                                                   lives,” said Mr. Virag. “They used
                                                                                                                                     many different hardware designs         happen when a key supplier goes         Nick Bunkley contributed report-        up their nine, and they appar-
                                                                                                                                     and different types of software         down.”                                  ing.                                    ently still have more.”



                                                                                                                                     Boeing Chief Says Rivet Flaws Appear Limited to One Jet
                                                                                                                                         By CHRISTOPHER DREW                 sections of the roof found that riv-
                                                                                                                            The riveting flaws in the roof of                et holes on one layer of the
                                                                                                                          the Southwest Airlines jet that re-                plane’s skin did not line up prop-
                                                                                                                          cently tore open in flight appear                  erly with an underlying layer.
                                                                                                                          to be poor manufacturing work                         A five-foot hole suddenly
                                                                                                                          on that one plane rather than a                    ripped open in the cabin roof on
                                                                                                                          broader design failure, Boeing’s                   April 1, forcing the Southwest jet
                                                                                                                          chief executive said Wednesday.                    to make an emergency landing in
                                                                                Stores Miscellaneous                3438    The executive, W. James                          Arizona.
                                                       BUSINESS                                                           McNerney,   told analysts that pre-                   The safety board did not draw
                                                 OPPORTUNITIES Great                   $ Making Deli & Conv. liminary data “points more in
                                                                               Hot Food , deli, beer, lotto, Gross $925K,
                                                                                                                                                                             any conclusions about the cause
                                                                     (3400) Askg:$235K Peekskill, NY PH:2017245022 that direction.”                                          of the rupture, which occurred at
                                                                                                                            The National Transportation                      34,000 feet. Independent experts
 Offices−Manhattan                     105       Capital Wanted          3402 Restrnts., Bars & Clubs               3440 Safety Board issued an interim
                                                                                                                                                                             said they were surprised that
36 ST W., #152 B'twn Broadway & 7th                                           Deli in Long Beach for sale. report on Monday, saying that a
500, 700 & 1400 sq ft, totally renovated of-                                  Brooklyn store for rent previously                                                             Boeing’s inspectors had not
fices, across from Macy's  NO FEE                INVESTORS WANTED secured by Italian Restaurant. Heavy traffic area. laboratory examination of intact                       caught such a basic mistake
falconproperties.com             212-302-3000   CMO & CMB, invest 15mil, will have re-     GREAT locations!          718-531-7830.
                                                turn of 7% of your investment within 6
  COMMERCIAL &                                   months. Secured by the instruments.                                                                                         when the plane was built in the
                                                     Call Sheridan Capitals L.L.C.         SOHO - Pizzeria High Traffic                                                      mid-1990s.
   INDUSTRIAL                                       for further details 347-785-5980        Equity Partner / Operator Wanted
                                                                                           Must own 1 pizzeria & 5+ yrs exp in NYC                                              Mr. McNerney said federal in-                                                          STEPHEN BRASHEAR/GETTY IMAGES
   PROPERTIES                                                                                   waynebruce80@yahoo.com
                                                                                                                                                                             vestigators were still sorting out      Boeing says it plans to deliver some 787 Dreamliners in 2011,
                                 (300)           Laundry & Clng. Stores          3430       Professional Practices         3448                                              what happened.                          after years of problems with suppliers and production.
 Dutchess County                       342
                                                                                              DENTAL OPPORTUNITY                                                                His comments came as Boeing
POUGHKEEPSIE commercial building                Spacious Laundromat for sale, Jamaica
4000 sq ft office/warehouse + 2 family.             ave. near Van Wyck, 26 washers,          Long-standing dental practice and                                               announced that its first-quarter
walk to train. owner financing                       22 dryers, loyal customer base,          building in Orange County, NY.                                                                                         freighter and its long-delayed 787      cial plane in history. But the pro-
$489,000.00 910-880-0740                        plus commercial accnt.      718-662-6953     Inquiries to KRMIVI@yahoo.com                                                   earnings rose 13 percent to $586
                                                                                                                                                                                                                     Dreamliner passenger plane, and         duction problems have added bil-
                                                                                                                                                                             million, or 78 cents a share, from
                                                                                                                                                                                                                     that it still expected to deliver 25    lions of dollars in costs, and Mr.
                                                                                                                                                                             $519 million, or 70 cents a share, a    to 40 of these two models this          McNerney said the project’s prof-
                                                                                                                                                                             year earlier. Revenue slipped 2         year.                                   itability would eventually be de-
                                                                                                                                                                             percent to $14.9 billion, from $15.2       He said the 787 deliveries           cided by how well longer-range
                                                                                                                                                                             billion, on weaker revenue in the       would include a mix of the first        versions of the plane sell.
                                                                                                                                                                             commercial airplane business.           planes it has built, which have            Mr. McNerney also said that
                                                MACINTOSH                                                                                                                       The company, which also has a        needed extensive reworking to           Airbus’s plan to update its A320
                                                                                                                                                                             large military business, re-            fix poorly made parts from sup-         series with new engines was tak-
                                                                                                                                                                             affirmed its guidance for the           pliers, and the latest jets, which      ing sales from smaller compet-
                                                                                                                                                                             year, with revenue expected to be       are coming off the production line      itors, like Canada’s Bombardier,
                                                                                                                                                                             $68 billion to $71 billion and earn-    in much better shape.                   rather than from Boeing. He said
                           NY's own store for everything Macintosh                                                                                                           ings to be $3.80 to $4 a share.            The 787, built with lightweight      Boeing was still likely to forgo
                                                                                                                                                                                Mr. McNerney said that Boe-          composite materials to lower fuel       changing the engines on its 737
                            Macbook-iPod-Mac Pro-iMac-Windows                                                                                                                ing remained on track to make           costs, has attracted more sales —       models and seek to introduce a
                            Sales, Service, Rentals, Data Recovery                                                                                                           the first deliveries of its new 747-8   about 850 — than any commer-            new plane by 2019 or 2020.
                                                  09-50026-mg              Doc 10214-2              Filed 05/10/11 Entered 05/10/11 15:53:12                                      Part 2
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8D                                                                                                                                                                                 THURSDAY, APRIL 28, 2011                                 USA TODAY


                                                                                                                Stage

Two dramas, several dysfunctional souls
Compellingly
deluded dreams
ﬁll ‘Blue Leaves,’
‘Jerusalem’
  NEW YORK — Were Artie and
Bunny, the sad, selﬁsh, adulterous
couple who dream of showbiz
glory in The House of Blue Leaves,
to exist today, they’d be prime
candidates for reality TV.
  Of course, when John Guare
wrote this darkly farcical play,
ﬁrst staged in 1966, the notion
that utterly unexceptional losers

             Review
         By Elysa Gardner
would not only seek fame and
fortune but also feel entitled to it
seemed a lot more ludicrous than
it does now. And, one could ar-
gue, our general obsession with
celebrity hadn’t yet metastasized                                                                                                                                                                                                                  By Simon Annand

into the pervasive sickness it is at                                                                                                                                                                              Jerusalem: Mark Rylance’s
the moment.                                                                                                                                                                                                       “Rooster” Byron is unforgettable.
   All of which makes the pairing
of this Guare classic and David                                                                                                                                                                                   Theatre, devotes three hours to
Cromer, who directs the new                                                                                                                                                                                       Johnny’s last stand against the
Broadway production of Blue                                                                                                                                                                                       conformists demanding his evic-
Leaves (eee½ out of four),                                                                                                                                                                                        tion. Butterworth infuses his
cause for excitement.                                                                                                                                                                                             hero/fool’s tale with a sweeping
   Having brought a raw natu-                                                                                                                                                                                     lyricism that nods to Saint
ralism and fresh topicality to                                                                                                                                                                                    George and William Blake
works as diverse as Our Town and                                                                                                                                                              By Joan Marcus
                                                                                                                                                                                                                  (whose poem inspired the titular
Brighton Beach Memoirs, Cromer          House of Blue Leaves: Ben Stiller, with Alison Pill, plays Artie, a songwriter who harbors fantasies of stardom in Hollywood.                                             English hymn).
seems just the man to revisit                                                                                                                                                                                        Mitigating, bawdy humor
Guare’s quirky, probing satire.         by Edie Falco. As the play unfolds,    now a successful ﬁlmmaker. But          her with a searing but tender au-   as irresponsible and delusional as                     serves this unlikely process well,
And in this haunting, bleakly fun-      the pope is coming to town, and a      their plot is threatened as other,      thenticity. Leigh’s vain, nattering Artie, but a better entertainer.                       as does an impeccable cast di-
ny revival, which opened Mon-           breathless Bunny (Jennifer Jason       unexpected visitors arrive: a           Bunny is an ideal foil, at once hi- Mind you, Rooster has no Holly-                        rected by Ian Rickson. Jerusalem
day at the Walter Kerr Theatre,         Leigh) pops by early to rouse          posse of lost nuns, Billy’s glamor-     larious and disturbing in her ig-   wood aspirations; he’s content to                      succeeds, above all else, as a ve-
the director and his starry cast        Artie, recovering from one of          ous but troubled girlfriend and         norant conviction that she and      live in hedonistic squalor in a                        hicle for the talents of Mark Ry-
deliver.                                his increasingly fruitless gigs at a   Artie and Bananas’ 18-year-old          Artie and their fantasies will      trailer parked in the English                          lance, who invests Johnny with a
   Ben Stiller funnels the perfect      local bar.                             son, a Vietnam-bound soldier            prevail.                            countryside, partying with and                         blazing, barreling intensity and a
mix of delusion and dejection             Bunny sees the pope’s pres-          with his own twisted scheme to                                              selling drugs to shiftless teen-                       sort of sordid charisma.
into Artie, a middle-aged zoo-          ence as a sort of spiritual harbin-    earn the world’s attention.             ‘Jerusalem’: Wholly excellent       agers.                                                    It’s a performance that has
keeper and aspiring songwriter          ger for her and Artie, who plan to        In the end, Bananas emerges as                                              The neighbors, not surprising-                      surely just made the already
sharing a squalid apartment with        deposit Bananas in a loony bin         the most pure-hearted and, in              Johnny “Rooster” Byron, the ly, aren’t quite so pleased with                            competitive contest for this
his schizophrenic wife, known to        and run off to California, where       her own way, reasonable charac-         anti-hero at the center of Jez But- this arrangement. The London-                          year’s best-leading-actor Tony
everyone as Bananas and played          Artie’s childhood friend, Billy, is    ter, and the superb Falco plays         terworth’s Jerusalem (eee½), is based play, now at the Music Box                           Award a little tighter.


                                                                                                              People

D’Onofrio back on duty in more relaxed ‘Law’
After break, he has renewed                                                    andra Eames) and me.”
                                                                                  He adds: “Mainly we’re mak-
                                                                                                                       way to make money off it, it’ll
                                                                                                                       stay on the air.” And if it con-
                                                                                                                                                                ing jobs.”
                                                                                                                                                                   Eventually he went to New
                                                                                                                                                                                                                  of what’s going on these days
                                                                                                                                                                                                                  with the recession and how fam-

conﬁdence, easier schedule
                                                                               ing shows like we did during the        tinues? “I’d stay with it.”              York. “I didn’t know what I want-                 ilies are trying to survive.”
                                                                               early seasons. They’re straight-           D’Onofrio insists he shares           ed to do,” he says, “but deep                         Don’t Go in the Woods, a horror
                                                                               out crime dramas, with Goren            only one quality with his charac-        down, I knew it would be some-                    musical that he directed and
                                                                               being very quirky and doing             ter, Goren. “I have good intuition       thing artistic. In New York, I                    helped write, is due later this
By Nancy Mills                          But it didn’t work out as great as     things that surprise people. We         about people,” he says. “I’m pret-       learned to respect the arts more.                 year. He is producing Mall, a ﬁlm
Special for USA TODAY                   they thought it would.”                got away from that a little bit in      ty good at it in my personal life.”      I started to go to (acting) classes, I            version of Eric Bogosian’s 2001
                                          Now D’Onofrio’s Detective            the later years.”                                                                studied, and I took it seriously.”                same-titled novel. “Eric used to
   How difﬁcult was it to per-          Bobby Goren is back to ﬁguring            Reports suggest that Criminal        Age brings conﬁdence                        Theater work led to a starring                 be on the show, and he asked me
suade Vincent D’Onofrio to re-          out the way criminals think. “But      Intent will end after this season,                                               role in Stanley Kubrick’s 1987                    to read it,” D’Onofrio says. “He
turn to Law & Order: Criminal In-       things have changed here,” he          but D’Onofrio says the ﬁnal deci-           D’Onofrio admires Goren’s un-        ﬁlm Full Metal Jacket. Since then,                thought it might be a good idea
tent after leaving the show more        explains. “We’re not doing as          sion is yet to be made.                 predictability. “But he’s a little too   D’Onofrio has appeared in nearly                  to make a ﬁlm of it. So I devel-
than a year ago? Not very.              many episodes (just eight) or             “Some people say it’s the last       dark for me at my age.” The              70 ﬁlms, including Mystic Pizza,                  oped it with some friends, and
   “All it took was (creator) Dick      working as many hours. They            season,” he acknowledges.               Brooklyn-born actor adds: “May-          JFK, Men in Black and the recent                  we’re casting it now.”
Wolf asking,” D’Onofrio says be-        found a way to do it so it’s more      “Some people say it’s not.              be when I was young, it was OK           crime drama Kill the Irishman.                        He also wants to direct and star
tween setups at the Chelsea Pier        comfortable for Kate (Kathyrn             “If they have to end it, it will     to be like that. Now it’s a bit too         In the upcoming comedic dra-                   in Johnny and Me, about a father/
Soundstage in Manhattan. He is          Erbe, who plays his partner Alex-      end,” he says. “We have no con-         much. I’ve learned to let every-         ma Chlorine, he and Kyra Sedg-                    daughter relationship. “It’s not so
ﬁnishing up Episode 3 of Season                                                trol. But if they can ﬁgure out a       thing go and leave it at work.”          wick play “a husband and wife                     much that I like being in charge. I
10, which begins Sunday (9 p.m.                                                                                            He elaborates. “When you’re a        trying to keep up with the Jones-                 just like being involved in the
ET/PT) on USA Network.                                                                                                 young artist, you’re struggling to       es,” he says. “It’s about the stress              whole process.”
   After handing off his detective                                                  “Everything                        achieve all these things, and you
work to Jeff Goldblum, D’Onofrio                                                    changed when                       wrap yourself into it and you’re in

                                                                                                                                                                                              MARKETPLACE
left the series early in Season 9.                                                                                     this bubble. When you get older,
He had been hospitalized brieﬂy                                                     I met my wife.                     your conﬁdence is much greater,
for nervous exhaustion in the
                                                                                    She allowed me                     and your ability is much greater,
fourth season but soldiered on for
another ﬁve years.                                                                  to be me, with
                                                                                                                       and you’re able to rely on the fact
                                                                                                                       that (your acting ability) is going
                                                                                                                                                                                              TODAY                           www.russelljohns.com/usatoday
                                                                                                                                                                                              Hours of operation: Mon. - Fri., 8:30 am - 6:00 pm [EST]
   “I liked doing the show,”                                                                                           to be there when you pick it back
D’Onofrio says, “but after work-                                                    all my ﬂaws.                       up. So you can lay it down and go
                                                                                                                                                                                              To advertise call 1.800.397.0070 Toll-free in the U.S. only

ing on it for so many years, I did                                                   . . . When you                    home and not think about it.”                                                     NOTICES
need a break. I tried for a long                                                                                           He credits his wife, Dutch
time to get off it, but I didn’t want                                               have that, you                     model Carin van der Donk, with                                                LEGAL NOTICE
to leave anybody in the lurch.”
   But ﬁnally, there was an oppor-
                                                                                    can focus more                     helping him reach this point. “I
                                                                                                                       was kind of a loner, very intro-
                                                                                                                                                                          UNITED STATES BANKRUPTCY COURT

                                                                                    on the artistic
                                                                                                                                                                          SOUTHERN DISTRICT OF NEW YORK
tunity. “Dick eventually ﬁgured                                                                                        verted and pretty socially inept                    In re                                          Chapter 11 Case No.
out a way to segue me out,” says
the actor, 51. “I have so much
                                                                                    things.”                           for a long period,” he says. “Ev-
                                                                                                                       erything changed when I met my
                                                                                                                                                                           MOTORS LIqUIDATION COMPANY, et al.,
                                                                                                                                                                                 f/k/a General Motors Corp., et al.
                                                                                                                                                                                                 Debtors.
                                                                                                                                                                                                                          09-50026 (REG)
                                                                                                                                                                                                                          (Jointly Administered)
respect for Jeff Goldblum                                                                                              wife. She allowed me to be me,                                  NOTICE OF (I) ENTRY OF ORDER CONFIRMING
that I thought it                                                                                                      with all my ﬂaws. To know some-                               DEBTORS’ SECOND AMENDED JOINT CHAPTER 11
                                                                                                                                                                                     PLAN AND (II) OCCURRENCE OF EFFECTIVE DATE
was going to                                                                                                           one truly loved me for who I was
ﬂy.                                                                                                                     . . . that relationship has been                  TO ALL CREDITORS, EqUITY INTEREST HOLDERS, AND OTHER PARTIES
                                                                                                                                                                          IN INTEREST:
                                                                                                                       going on and on, and it’s great.                          PLEASE TAKE NOTICE that an order (the “Confirmation Order”)
                                                                                                                       When you have that, you can fo-                    (ECF No. 9941) confirming the Debtors’ Second Amended Joint Chapter
                                                                                                                                                                          11 Plan, dated March 18, 2011 (ECF No. 9836) (the “Plan”), of Motors
                                                                                                                       cus more on the artistic things.”                  Liquidation Company and its affiliated debtors (collectively, the “Debtors”),
                                                                                                                                                                          was signed by the Honorable Robert E. Gerber, United States Bankruptcy
                                                                                                                           They have two sons, Elias, 11,                 Judge, and entered by the Clerk of the United States Bankruptcy Court for
                                                                                                                       and Luka, 3. D’Onofrio also has a                  the Southern District of New York (the “Bankruptcy Court”) on March 29,
                                                                                                                                                                          2011. Capitalized terms used herein but not otherwise defined have the
                                                                                                                       daughter, Leila, 19, with Aus-                     meanings ascribed to such terms in the Plan.
                                                                                                                        tralian actress Greta Scacchi.                            PLEASE TAKE FURTHER NOTICE that the Confirmation Order is
                                                                                                                                                                          available for inspection during regular business hours in the office of the
                                                                                                                         “She’s making ﬁlms at the Syd-                   Clerk of the Bankruptcy Court, Alexander Hamilton Custom House, One
                                                                                                                           ney Film School,” he says.                     Bowling Green, New York, New York 10004. The Confirmation Order is also
                                                                                                                                                                          available for registered users of the Bankruptcy Court’s filing system by
                                                                                                                             “She’s interested in directing               accessing the Bankruptcy Court’s website (www.nysb.uscourts.gov) and for
                                                                                                                                                                          all parties at www.motorsliquidationdocket.com.
                                                                                                                              and writing.”
                                                                                                                                                                                  PLEASE TAKE FURTHER NOTICE that the Plan and its provisions
                                                                                                                                                                          are binding on the Debtors, the Post-Effective Date Debtors, the GUC Trust
                                                                                                                             Finding his niche                            Administrator, the Asbestos Trust Administrator, the Environmental Response
                                                                                                                                                                          Trust Administrative Trustee, the Avoidance Action Trust Administrator, any
                                                                                                                                                                          entity acquiring or receiving property or a distribution under the Plan, and
                                                                                                                                                                          any holder of a claim against or equity interest in the Debtors, including all
                                                                                                                                   When D’Onofrio was                     governmental entities, whether or not the claim or equity interest of such
                                                                                                                                that age, he had no spe-                  holder is impaired under the Plan and whether or not such holder or entity
                                                                                                                                                                          has accepted the Plan.
                                                                                                                                 ciﬁc ambition. “I used to                       PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan
                                                                                                                                   put on shows for the                   (as defined in the Plan) occurred on March 31, 2011 and, as a result, the
                                                                                                                                                                          Plan has been substantially consummated.
                                                                                                                                   neighborhood with my
                                                                                                                                                                                 PLEASE TAKE FURTHER NOTICE that all proofs of claim arising
                                                                                                                                  three sisters,” he says,                from the rejection of executory contracts or unexpired leases pursuant
                                                                                                                                 recalling his early years                to the Plan must be filed with the Bankruptcy Court and served upon the
                                                                                                                                                                          Debtors, the GUC Trust Administrator, the Asbestos Trust Administrator, the
                                                                                                                                in Florida with his di-                   Environmental Response Trust Administrative Trustee, and the Avoidance
                                                                                                                                                                          Action Trust Administrator, at the addresses set forth in the Confirmation
                                                                                                                                vorced mother. “We col-                   Order, on or before May 30, 2011. Any claims arising from the rejection
                                                                                                                               lected canned food for                     of an executory contract or unexpired lease for which a proof of claim
                                                                                                                                                                          has not been filed by such date shall be forever barred and shall not be
                                                                                                                              families in Vietnam. In or-                 enforceable against the Debtors, the GUC Trust Administrator, the Asbestos
                                                                                                                                                                          Trust Administrator, the Environmental Response Trust Administrative
                                                                                                                            der to see the show, people                   Trustee, and the Avoidance Action Trust Administrator, or any property
                                                                                                                       would have to bring cans. But I                    to be distributed under the Plan, the GUC Trust, the Asbestos Trust, the
                                                                                                                                                                          Environmental Response Trust, and the Avoidance Action Trust.
                                                                                                                       never took performing seriously.”                  Dated: New York, New York
                                                                                                                          After graduating from high                             April 18, 2011
                                                                                                                       school, D’Onofrio went on a road                                           WEIL, GOTSHAL & MANGES LLP
                                                                                                                                                                                                  767 Fifth Avenue
                                                                                                                       trip with his best friend. “We                                             New York, New York 10153
                                                                                                                                                                                                  Telephone: (212) 310-8000
                                                                                                                       drove from Florida to California,”                                         Facsimile: (212) 310-8007
                                                                                                                       he says. “I ended up in Colorado,                                          Attorneys for Debtors and
                                                                                                                       working construction and labor-                                            Post-Effective Date Debtors
                                                                                          By Marco Grob, USA Network
                                                                                                                                                       09-50026-mg                         Doc 10214-2                              Filed 05/10/11 Entered 05/10/11 15:53:12                                                                           Part 2
                                                                                                                                                                                                                                          Pg 3 of 3


                                                                                                        4A

                                                                                                            COVER STORY ◆
                                                                                                                     WWW.FREEP.COM                  THURSDAY, APRIL 28, 2011                  ◆




                                                                                                        What’s the best way to get moving?
                                                                                                        x                                                                                                                                                                                                                                                                                                                                                                                         x




                                                                                                        Engineer: Getting                                               Light-rail problems to be resolved                                                                                                                                                                                                                                            Woodward light rail
Garden City Group Inc
                         GCG Communications




                                                                                                        plan right is crucial                                                                                                                                                                                                                                                                                                                            What it is: A light-rail sys-
                                                                                                        By MATT HELMS
                                                                                                                                                                        1. Down the center or to the side?                                                                              2. Getting around downtown                                                                                                                                    tem running along Woodward
                                                                                                                                                                                                                                                                                                                                                                                                                           State                      from downtown Detroit to
                                                                                                        and JOHN GALLAGHER                                               Center-running lines tend to be faster, keep a more reliable                                                   Key decisions are yet to be made about                                                                                       fairgrounds                      8 Mile.
                                                                                                        FREE PRESS STAFF WRITERS                                         schedule and stop at fewer stops. Side-running lines tend to be                                                the route the rail line would take                                                                                                                               Cost: $450 million to
                                                                                                                                                                         slower, stop more often, but, proponents say, may contribute                                                   downtown — either straight up and
                                                                                                            Fundamental issues divid-                                                                                                                                                                                                                                                                 Proposed                                        $500 million, depending on the
                                                                                                                                                                         more to tourism and economic development                                                                       down Woodward, or looping around
                                                                                                        ing city officials from business                                 in areas they serve.                                                                                           lower downtown to connect with the                                                                           routes and 7 Mile                                final route configuration and
                                                                                                                                                                                                                                                                                                                                                                                                                                                      other details.
                                                                                                        leaders and others staking mil-                                                                                                                                                 Rosa Parks Transit Center.                                                                                      stops                                            Who’s paying for it: A combi-
                                                                                                        lions of private dollars in build-                                                                                                                                                                                                                                                                                                            nation of city bonds and federal




                                                                                                                                                                                                                                                                                                                                                                                                                                     PHASE 2
                                                                                                        ing new light rail in Detroit                                       Center-                                                                                                                                                                                                                                  McNichols
                                                                                                                                                                                                                                                                                                                                                                                                                                                      money, and money from non-
                                                                                                                                                                                                                                                                                                                                                   Grand                               Beacon
                                                                                                        must be ironed out soon if work                                     running                                                                                                                                                                Circus Park                                                                                        profits and wealthy individuals.
                                                                                                        is to begin next year, as Mayor                                     line                                                                                                                                                                                                                              C                                       Passenger fares and govern-




                                                                                                                                                                                                                                                                                                                                                               nR
                                                                                                                                                                                                                                                                                                                                                                                                              O    Manchester
                                                                                                        Dave Bing hopes.




                                                                                                                                                                                                                                                                                                                                                           Joh
                                                                                                                                                                                                                                                                                                                                                                                                                                                      ment subsidies would pay to
                                                                                                                                                                                                                                                                                                     Gra
                                                         Section-Page-Zone(s): A-4-All




                                                                                                                                                                                                                                                                                                             nd R                                                                                                                                     operate it.




                                                                                                                                                                                                                                                                                            Cass
                                                                                                            Among the questions:                                                                                                                                                                                                                                                                 t




                                                                                                                                                                                                                                                                                                                                                          Bro
                                                                                                                                                                                                                                                                                                                                            Woodward
                                                                                                                                                                                                                                                                                                                    iver                                                                   tio                        Glendale
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Projected opening date: 2016.
                                                                                                        ❚ Whether the rail line will run                                                                                                                                                                                                                                             Gra




                                                                                                                                                                                                                                                                                                                                                             adw
                                                                                                                                                                                                                                                                                   Rosa                                                                                                                                                                  Owner: Detroit Department
                                                                                                        down the middle of Woodward                                                                                                                                               Parks




                                                                                                                                                                                                                                                                                                                                                                ay
                                                                                                                                                                                                                                                                                 Transit                          Sta                                                                                                   Calvert                       of Transportation, although it
                                                                                                        — a design transit advocates




                                                                                                                                                                                                                                                                                                                                                                                                                                     WOODWARD AVE.
                                                                                                                                                                                                                                                                                                                        te                                                                                                                            may become part of a regional
                                                                                                                                                                                                                                                                                 Center                     Mic                                    Compuware
                                                                                                        say would be safer, faster,                                                                                                                                         Howard                                higa                                                                                              Hazelwood/
                                                                                                                                                                                                                                                                                                                                                                                                                                                      transportation authority.
                                                                                                                                                                                                                                                                                                                                                   Bldg.




                                                                                                                                                                                                                                                                                                                             Griswold
                                                                                                        cheaper and more efficient —                                                                                                                                             People                                  n                               Campus                                                       Holbrook




                                                                                                                                                                                                                                                                                               Washington




                                                                                                                                                                                                                                                                                                                                                                    Fa
                                                                                                        or be built on the avenue’s curb                                                                                                                                         Mover                                                                   Martius                             Greektown




                                                                                                                                                                                                                                                                                                                                                                      rm
                                                                                                                                                                                                                                                                                                                                                                                                                    Grand Blvd.
                                                                                                                                                                                                                                                                                                                                                      C Park




                                                                                                                                                                                                                                                                                                                                                                         er
                                                                                                                                                                                                                                                                                                               Route                                                                            Casino
                                                                                                        lanes, as the private backers of                                                                                                                                                                                                                   a                                                       (New Center)
                                                                                                                                                                                                                                                                                     Fort                     options                                  S q u dillac
                                                                                                        the proposed M-1 rail first envi-                                                                                                                                                                                                                   are                                                                                      since passengers get off the




                                                                                                                                                                                                                                                                                                                                                                         Randolph
                                                                                                                                                                                Side-                                                                                                                                                                                                                                 Piquette/




                                                                                                                                                                                                                                                                                                                                        Woodward
                                                                                                        sioned to boost tourism and re-                                                                                                                                                                           Congress                                                                                              Amtrak                       trains right at the curb in front
                                                                                                                                                                                running
                                                                                                        development.                                                                                                                                                                                              Larned                                                                                           Warren Ave./                      of nearby retailers.
                                                                                                        ❚ What route the line would
                                                                                                                                                                                line                                                                                                        Cobo                                                                                                                   Wayne State                          Bing’s spokesman declined




                                                                                                                                                                                                                                                                                                                                                                                                                                    PHASE 1
                                                                                                        travel through downtown. Pri-                                                                                                                                                       Hall                                             JeffersonJefferson                                              ri
                                                                                                                                                                                                                                                                                                                                                                                                        Woodbrid    MLK Blvd./                       interviews. He said recently
                                                                                                        vate backers initially envi-                                                                                                                                        Joe Louis
                                                                                                                                                                                                                                                                             Joe
                                                                                                                                                                                                                                                                             Arena                 Cobo
                                                                                                                                                                                                                                                                                                    Cobo                          Hart                                       Renaissance                                 Mack                        that a well-designed center-
                                                                                                        sioned a line running straight                                                                                                                                      Louis                  Arena
                                                                                                                                                                                                                                                                                                    Arena                         Plaza                                      Center                                                                  running line would not hurt
                                                                                                                                                                                                                                                                                                                                                                                                                      Foxtown/
                                                                                                        up and down Woodward from                                                                                                                                                                                                                                                                                      Stadium                       businesses or development
                                                                                         Description:




                                                                                                        Jefferson. But the Detroit De-                                                                                                                                                                                                                                                                                                               along Woodward and could be
Advertiser:




                                                                                                        partment of Transportation,                                                                                                                                                                                                                                                                                               Inset              safe for pedestrians.
                                                                                                        which will operate the line,                                                                                                                                          Source: Detroit Transit Options for Growth Study                                                DAVID PIERCE/Detroit Free Press                                           Matt Cullen, the chief exec-
                        Agency:




                                                                                                        prefers a route that bypasses                                                                                                                                                                                                                                                                                                                utive of the M-1 group of pri-
                                                                                                        lower Woodward in favor of a                                                                                                                                                                                                                                                                                                                 vate investors, expressed opti-
                                                                                                        loop around lower downtown                                   man Dan Gilbert pledged mil-                                    ter Rogoff said in a statement                  vides speedy trips between                                                                     center-running lines are prone                                   mism.
                                                                                                        to connect with the Rosa Parks                               lions for the project, believing a                              to the Free Press. “As the fed-                 fewer stations.                                                                                to pedestrian accidents, since                                      “I feel like we’re encouraged
                                                                                                        Transit Center west of Wood-                                 privately funded and operated                                   eral partner, FTA is commit-                       There also is an important                                                                  riders must cross traffic lanes                                  by our opportunity to better
                                                                                                        ward.                                                        line could be built more quickly                                ted to working with all the                     dispute over whether the line                                                                  to get to the stations. Some                                     understand what’s going on,
                                                                                                        ❚ How to pay for the long-term                               than a city-run project that                                    stakeholders to ensure the                      should run down the center of                                                                  center-running lines have suf-                                   and we’re having a good dia-
                                                                                                        operation of the project. Ulti-                              might get lost in red tape.                                     project’s success.”                             Woodward or closer to its                                                                      fered train-car accidents as                                     logue with folks,” he said
                                                                                                        mately, supporters say, a re-                                   But the project ultimately                                                                                   curbs in the first lane on each                                                                motorists make left turns in                                     Wednesday. “Ultimately, it’s
                                                                                                        gion-wide rail system, for                                   required cooperation between                                    More issues to work out                         side out from the parking lane.                                                                front of trains.                                                 Mayor Bing’s call as to the de-
                                                           2X5 MODULAR M10




                                                                                                        which the Woodward line is                                   public and private interests,                                      But key differences remain.                  Each position has merits.                                                                          Side-running lines tend to                                   sign, and assuming that all of
                                                                                                        seen as a first step, will require                           said Megan Owens, executive                                        The business leaders be-                     Which is best depends on goals                                                                 be slower because trains have                                    our folks are comfortable with
                                                                                                        a regional tax.                                              director of Transportation                                      hind M-1 had in mind a slower-                  the line is supposed to meet.                                                                  to stop for cars that are paral-                                 the design and budget and op-
                                                                                                            Operating the line, as is the                            Riders United, a group that ad-                                 moving rail line with lots of                      A center-running line would                                                                 lel parking or stopped to make                                   erational sustainability of it,
                                                                                                        case with virtually all such                                 vocates for public transit.                                     stops. But many transit advo-                   run on its own dedicated track,                                                                a right turn.                                                    then we’re in.”
                                                                                                        lines elsewhere, would require                                  “That’s really where M-1                                     cates say it would be a mistake                 not sharing a lane with auto                                                                       But advocates of side-run-                                   ❚ CONTACT MATT HELMS: 313-222-1450
                                                                                                        a public subsidy.                                            came from,” she said, “this de-                                 to not make the system a more                   traffic. That would be faster                                                                  ning lines say they are better at                                OR MHELMS@FREEPRESS.COM
0000044324




                                                                                                            And getting a state subsidy                              sire to get it done faster and to                               traditional rail line that pro-                 and more reliable. Critics say                                                                 promoting local businesses
                                                                                                        for the Detroit light-rail line                              make sure it got done. But you
                                                                                                        would, in all likelihood, require                            can’t really do a transportation


                                                                                                                                                                                                                                      “Had It With Dentures?”                                                                                                                               DONATE YOUR CAR
                                                                                                        putting control of the system                                project of this magnitude with-
                                                                                                        into a regional transportation                               out working with the govern-
                                                                                                        authority. That could spark re-                              ment. That’s the reality.”
                                                                                                        sistance in Detroit to giving up                                The federal government
                        Insertion Number: N/A




                                                                                                        control of a key piece of city in-                           has provided $25 million for
                                                                                                        frastructure. At the same time,                              the project, and it and the City
                                                                                          0




                                                                                                        suburban voters may balk at                                  of Detroit see the Woodward
                                                                                                        approving a tax seen as largely                              line as the first leg of a regional
                                                                                                        benefitting the city.                                        system.                                                                          Before                                       After
                                                                                                            Leaders must resolve those                                  David Goldberg, spokes-
                                                                                                        issues now, said Martin                                      man for Transportation for
                                                                                                        Schroeder, chief engineer for                                America, an advocacy group,
                                                                                                        the American Public Trans-                                   said cities are building or ex-
                                                                                                        portation Association.                                       panding rail as a component of
Ad Number:




                                                                                                                                                                                                                                                                                                                                                                                     MOTHER WADDLES
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                                                                                                        money to put a rail system in,                               opment as more people opt to
                                                                                                        you’ve got to do your home-                                  live and work in cities with reli-
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                                                                                                                                                                                                                                         To Receive An Information Packet And Listen To A Recorded Message
                                                                                                        work. You want to be right the                               able transit.                                                                 Call Toll Free Now! 24 Hours A Day
                                                                                                        first time,” Schroeder said.                                    About 28 U.S. cities operate                                              1-888-291-4341 Ext. 122                                                                                                            “Receive Blue Book For Your Car”
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                                                                                                                                                                                                                                                   Eating Can be Wonderful Again!
                                                                                                        In the beginning                                             and at least a dozen more sys-
                                                                                                           It’s been a delicate dance                                tems are in the works or under

                                                                                                                                                                                                                                                                                                                                                                                       IT’S TIME
                                                                                                        from the beginning a few years                               study, Schroeder said.
                                                                                                        ago, when some of metro De-                                     The Federal Transit Ad-
                                                                                                        troit’s    wealthiest     people                             ministration (FTA) acknowl-
                                                                                                        pledged tens of millions of dol-                             edged the project’s high stakes
                                                                                                                                                                                                                                                                                                                                                                                       TO STORE
                                                                                                        lars to get the M-1 project going
                                                                                                        after previous city efforts
                                                                                                        stalled.
                                                                                                                                                                     for Detroit’s future but would
                                                                                                                                                                     not discuss the project in de-
                                                                                                                                                                     tail.
                                                                                                                                                                                                                                                            AUCTION                                                                                                                    YOUR FUR
                                                                                                           Civic and business leaders                                   “It will stimulate long-term                                                                                                                                                                                   ONLY 79.95
                                                                                                                                                                                                                                                     70+
                                                                                                        including Roger Penske, Com-                                 economic growth by attracting
                                                                                                        puware Chairman and CEO                                      investment to downtown De-                                                                        MICHIGAN                                                                                                        Fur storage and
                                                                                                                                                                                                                                                                                                                                                                                       cleaning package
                                                                                                        Peter Karmanos Jr. and Quick-                                troit and the New Center                                                                          PROPERTIES                                                                                                      includes $500
                                                                                                        en Loans founder and Chair-                                  area,” FTA Administrator Pe-
                                                                                                                                                                                                                                                                                                                                                                                       protection coverage.
                                                                                                                                                                                                                                                        Friday, May 13, 2:00 P.M. &                                                                                                    If purchased
                                                                                                            UNITED STATES BANKRUPTCY COURT
                                                                                                            SOUTHERN DISTRICT OF NEW YORK                                                                                                              Saturday, May 14, 11:00 A.M.                                                                                                    separately 114.95:
                                                                                                                                                                                                                                                        Sale Site: Suburban (Fmr Rock Financial) Showplace                                                                             storage, 44.95;
                                                                                                             In re                                                      Chapter 11 Case No.                                                                      46100 Grand River, Novi, MI 48374                                                                                     cleaning, $70.
                                                                                                             MOTORS LIQUIDATION COMPANY, et al.,                        09-50026 (REG)
                                                                                                                   f/k/a General Motors Corp., et al.                   (Jointly Administered)                                                                                                                                                                                         Other services
                                                                                                                                                                                                                                                                                        Residen1al
                                                                                                                                   Debtors.
                                                                                                                                                                                                                                                                                          Homes                                                                                        available at an
                                                                                                                                          NOTICE OF (I) ENTRY OF ORDER CONFIRMING
                                                                                                                                                                                                                                                                                          Condos                                                                                       additional charge:
                                                                                                                                        DEBTORS’ SECOND AMENDED JOINT CHAPTER 11
                                                                                                                                        PLAN AND (II) OCCURRENCE OF EFFECTIVE DATE                                                                                                       Duplexes                                                                                      • Alterations
                                                                                                                                                                                                                                                                                        Quad-Plex                                                                                      • Expert repairs
                                                                                                            TO ALL CREDITORS, EQUITY INTEREST HOLDERS, AND OTHER PARTIES IN INTEREST:
                                                                                                                                                                                                                                                                                         Apt. Bldg.                                                                                    • Restyling
                                                                                                                    PLEASE TAKE NOTICE that an order (the “Confirmation Order”) (ECF No. 9941) confirming the
                                                                                                            Debtors’ Second Amended Joint Chapter 11 Plan, dated March 18, 2011 (ECF No. 9836) (the “Plan”),
                                                                                                            of Motors Liquidation Company and its affiliated debtors (collectively, the “Debtors”), was signed by the                                                              Comm., Ind.,                                                                                        Plus, ask your
                                                                                                            Honorable Robert E. Gerber, United States Bankruptcy Judge, and entered by the Clerk of the United
                                                                                                            States Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”) on March 29,                                                                       & Land                                                                                           Fur Specialist how you
                                                                                                            2011. Capitalized terms used herein but not otherwise defined have the meanings ascribed to such terms                                                                 Comm. Bldgs                                                                                         can trade in any coat and
                                                                                                            in the Plan.
                                                                                                                                                                                                                                                                                     Ind. Bldgs                                                                                        receive 30% off† your new
                                                Thursday, April 28, 2011




                                                                                                                   PLEASE TAKE FURTHER NOTICE that the Confirmation Order is available for inspection during regular
                                                                                                            business hours in the office of the Clerk of the Bankruptcy Court, Alexander Hamilton Custom House, One                                                                Bank Branch                                                                                         regular-priced fur purchase.
                                                                                                            Bowling Green, New York, New York 10004. The Confirmation Order is also available for registered users of                                                                 C-Store
                                                                                                            the Bankruptcy Court’s filing system by accessing the Bankruptcy Court’s website (www.nysb.uscourts.gov)                                                               Carwash Fac.                                                                                        For more information
                                                                                                            and for all parties at www.motorsliquidationdocket.com.
                                                                                                                                                                                                                                                                                      Small &                                                                                          call 1-800-TLC-FURS or
                                                                                                                    PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on the Debtors, the Post-
                                                                                                            Effective Date Debtors, the GUC Trust Administrator, the Asbestos Trust Administrator, the Environmental                                                              Large AC Tracts                                                                                      visit furvault.com
                                                                                                            Response Trust Administrative Trustee, the Avoidance Action Trust Administrator, any entity acquiring or
                                                                                                            receiving property or a distribution under the Plan, and any holder of a claim against or equity interest in                                                                                                                                                               In The Fur Vault® at Macy’s
                                                                                                            the Debtors, including all governmental entities, whether or not the claim or equity interest of such holder is                            No Buyer's Premium!
                                                                                                            impaired under the Plan and whether or not such holder or entity has accepted the Plan.                                                                                                                                                                                    Northland Center, Oakland,
                                                                                                                  PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan (as defined in the Plan) occurred                                    Broker Compensation Available                                                                                                    Fairlane Town Center,
                                                                                                            on March 31, 2011 and, as a result, the Plan has been substantially consummated.
                                                                                                                                                                                                                                                                                                                                                                                       Twelve Oaks, Lakeside
                                                                                                                    PLEASE TAKE FURTHER NOTICE that all proofs of claim arising from the rejection of executory
                                                                                                            contracts or unexpired leases pursuant to the Plan must be filed with the Bankruptcy Court and served upon                                           Many Properties Selling                                                                                               & Somerset Collection.
                                                                                                            the Debtors, the GUC Trust Administrator, the Asbestos Trust Administrator, the Environmental Response
                                                                                                            Trust Administrative Trustee, and the Avoidance Action Trust Administrator, at the addresses set forth in the
                                                                                                            Confirmation Order, on or before May 30, 2011. Any claims arising from the rejection of an executory contract
                                                                                                            or unexpired lease for which a proof of claim has not been filed by such date shall be forever barred and shall
                                                                                                                                                                                                                                                                                  ABSOLUTE
                                                                                                            not be enforceable against the Debtors, the GUC Trust Administrator, the Asbestos Trust Administrator, the

                                                                                                                                                                                                                                                     800.479.1763
                                                                                                            Environmental Response Trust Administrative Trustee, and the Avoidance Action Trust Administrator, or any
                                                                                                            property to be distributed under the Plan, the GUC Trust, the Asbestos Trust, the Environmental Response
                                                                                                            Trust, and the Avoidance Action Trust.
                                                                                                            Dated: New York, New York
                                                                                                                   April 18, 2011                                                                                                                    JohnDixon.com
                                                                                                                                                  WEIL, GOTSHAL & MANGES LLP
                                                                                                                                                  767 Fifth Avenue                                                                                                                                                                                                                     macys.com

                                                                                                                                                  New York, New York 10153
                                                                                                                                                  Telephone: (212) 310-8000                                                                                                                                                                                                         IF PURCHASED SEPARATELY PRICES ARE BASED ON REG. PRICES. SALE PRICES IN EFFECT
                                                                                                                                                  Facsimile: (212) 310-8007                                                                                                                                                                                                         THROUGH 6/30/11. Cleaning prices are higher on leather, shearling and cashmere. †Trade-in offer
                                                                                                                                                                                                                         44324pdf




                                                                                                                                                                                                                                                                                                                         N44034




                                                                                                                                                  Attorneys for Debtors and                                                                                                                                                                                                         not valid on clearance merchandise and accessories. Offer subject to the condition of your fur. See fur
                                                                                                                                                  Post-Effective Date Debtors                                                                                                                                                                                                       storage contract for protection coverage details. No adjustments to prior purchases. N1030805. 44029
